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                         EXHIBIT A
                            TO
STIPULATION OF DISMISSAL WITH PREJUDICE OF TEVA PARTIES AND
       MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE
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                      SETTLEMENT AGREEMENT AND RELEASE


                                             I. PARTIES

       This Settlement Agreement and Release (this “Agreement”) is entered into as of the

Effective Date, as defined in ¶ III(21) below, by and among Ven-A-Care of the Florida Keys,

Inc., for its own behalf and, with respect to such qui tam claims as the Relator has pled on behalf

of the United States of America, the State of Florida, the State of Texas, and the State of

California (in any of the foregoing capacities, the “Relator”); Zachary T. Bentley, T. Mark Jones,

Luis Cobo and John Lockwood, M.D., each of the foregoing individuals, for his own behalf and

in all other capacities (the preceding four parties, the “Relator’s Current and Former Officers and

Directors” or “Individual Plaintiffs”); the State of Texas (“Texas”) and the State of Florida

(“Florida”); (Texas and Florida collectively referred to as the “Settling States”) (all of the

foregoing seven parties collectively, the “Plaintiffs”); Teva Pharmaceutical Industries, Ltd., Teva

Pharmaceuticals USA, Inc., Copley Pharmaceuticals, Inc., Ivax, L.L.C. (f/k/a Ivax Corporation),

Ivax Pharmaceuticals, Inc. (f/k/a Zenith-Goldline Pharmaceuticals, Inc.), Goldline Laboratories,

Inc., Sicor Inc., Gensia Sicor Pharmaceuticals, Inc., Duramed Research, Inc., Teva Parenteral

Medicines,   Inc.   (f/k/a   Sicor   Pharmaceuticals,   Inc.),   Novopharm     USA,    Inc.,   Barr

Pharmaceuticals, Inc., Barr Laboratories, Inc., Teva Women’s Health, Inc. (f/k/a Duramed

Pharmaceuticals, Inc.), Pliva, Inc., and Odyssey Pharmaceuticals, Inc. (the preceding sixteen

parties collectively, the “Teva Parties”). Collectively all of the above will be referred to as the

“Parties.” The United States and California are not parties to this Agreement; however, this

Agreement is conditioned upon the United States’ and California’s written consent in the forms

attached as Exhibits 6 and 7 respectively.



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                                    II. PREAMBLE

   As a preamble to this Agreement, the Parties agree to the following:

A. WHEREAS, on or about June 23, 1995, the Relator and one or more of the Individual

   Plaintiffs filed a qui tam action in the United States District Court for the Southern

   District of Florida captioned United States ex rel. Ven-A-Care of the Florida Keys, Inc. v.

   Bristol-Myers Squibb Co., et al., Civil Action No. 95-1354 (S.D. Fla.). In 1997, that

   complaint, which remained sealed at the time, was amended to add claims against one or

   more of the Teva Parties based on the information that the Relator allegedly supplied to

   the United States about certain of the Teva Parties’ prod ucts. This complaint, as it related

   to the Teva Parties, was dismissed without prejudice on October 1, 2009, while still

   sealed as to the Teva Party or Parties; and

B. WHEREAS, Florida and the Relator are jointly pursuing relief in five state-court actions

   in the Circuit Court of the Second Judicial District in and for Leon County, Florida,

   against one or more of the Teva Parties styled State of Florida, ex rel. Ven-A-Care of the

   Florida Keys, Inc. v. Barr Laboratories, Inc., Barr Pharmaceuticals, Inc., and Duramed

   Research, Inc., et.al., Civil Action No. 03-CA-1165, and State of Florida ex. rel. Ven-A-

   Care of the Florida Keys, Inc. v. Ivax Corporation, Ivax Pharmaceuticals, Inc., and

   Zenith Goldline Pharmaceuticals, Inc., et.al. Civil Action No. 03-CA-1165A, and State

   of Florida ex. rel. Ven-A-Care of the Florida Keys, Inc. v. Gensia Sicor Pharmaceuticals,

   Inc. and Sicor Inc., et. al., Civil Action No. 98-3032 E, and State of Florida ex. rel. Ven-

   A-Care of the Florida Keys, Inc. v. Alpharma, Inc., et.al., Civil Action No. 98-3032 F,

   and State of Florida, ex rel. Ven-A-Care of the Florida Keys, Inc. v. Mylan Inc., et al.,




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   Civil Action No. 98-3032 G, (these claims and proceedings collectively, the “Florida

   Proceedings”); and

C. WHEREAS, on or about April 10, 2000, the Relator and one or more of the Individual

   Plaintiffs filed a qui tam action in the United States District Court for the District of

   Massachusetts captioned United States ex rel Ven-A-Care of the Florida Keys, Inc. v. Dey

   et al., Civil Action No. 00-10698 (D. Mass.), eventually asserting claims against one or

   more of the Teva Parties as to one or more of the Teva Parties’ products. That complaint

   was amended under seal on February 1, 2002 and again February 15, 2005 to add claims

   against one or more Teva Parties based on the information that the Relator allegedly

   supplied to the United States about one or more of the Teva Parties’ products, and which

   included one or more pendent claims, including on behalf of California; however, the

   Relator never served the states and instead dismissed its pendent state claims, without

   prejudice, and elected to not pursue them. That complaint was further amended and

   unsealed on May 21, 2008. These claims and proceedings are referred to collectively as

   the “Federal Qui Tam Proceedings”); and

D. WHEREAS, Texas and the Relator are jointly pursuing relief in two additional state-

   court actions against one or more of the Teva Parties styled State of Texas ex. rel.

   Ven-A-Care of the Florida Keys, Inc. v. Sandoz Inc., et al., Cause No. D-1-GV-07-

   001259, in the District Court of Travis County, Texas, 201st Judicial District, and State of

   Texas ex. rel. Ven-A-Care of the Florida Keys, Inc. v. Alpharma, Inc., et al., Cause No.

   D-1-GV-08-001566, in the District Court of Travis County, Texas, 419th Judicial District

   (these claims and proceedings collectively, the “Texas Proceedings”); and




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E. WHEREAS, California and the Relator are jointly pursuing an action, originally

   commenced by the Relator in California State Court in 1998 and later removed to United

   States Court in 2003, State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.

   Abbott Laboratories, et al., Cause No. 03-CV-2238, in the Central District of California.

   That action was transferred to MDL No. 1456 (D. Mass.) and voluntarily dismissed on

   November 5, 2005 as to all Teva Parties that had been joined in that action (these claims

   and proceedings, the “California Proceedings” and together with the Texas Proceedings

   and the Florida Proceedings, the “State Proceedings”; and the claims and proceedings

   referenced in clauses (A) through (E) of these recitals, including the State Proceedings,

   are collectively referred to as the “Civil Actions”); and

F. WHEREAS, in one or more of the Civil Actions, the Plaintiffs contend that between

   January 1, 1991 and the date of execution of this Agreement by all parties, one or more of

   the Teva Parties submitted, or caused to be submitted, fa lse claims to the Medicaid

   Program and/or, among other things, (i) one or more Teva Parties knowingly set, reported

   and/or maintained, or caused to be set, reported and/or maintained, false, fraudulent

   and/or inflated prices, including, without limitation, Average of Suggested Wholesale

   Price to Pharmacy, Average Wholesale Prices, AWP, Suggested Wholesale Price, SWP,

   Price to Wholesaler and/or Distributor, Direct Price to Pharmacy, Central Purchase Price

   to Chain (Such as Warehouse Price), Institutional or Other Contract Price (Nursing

   Home, Home Health Care), Other Price, Suggested List Prices, Wholesale Acquisition

   Costs, Wholesale Net Prices, Direct Prices, Wholesale Direct Prices and/or Net Direct

   Prices, and/or other prices reported by one or more of the Teva Parties or published by

   compendia (any of the foregoing, collectively “Reported Prices”), for drugs



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 manufactured, marketed and/or sold by or on behalf of one or more Teva Parties (any and

 all drugs manufactured, marketed and/or sold by or on behalf of any Teva Party, a “Teva

 Covered Drug”), including, without limitation, Teva Covered Drugs with Labeler Codes

 00093, 00172, 00182, 00703, 38245, 55953, 00555, 51285, 65473, 00575, 50732 59310,

 000332, 57844, 68546 and 50111; (ii) with respect to the Texas Proceedings, one or more

 of the Teva Parties failed to report, or improperly reported, pricing information to the

 Texas Vendor Drug Program or otherwise failed to comply with the program

 requirements as to the reporting of pricing information to be used for reimbursement

 purposes; (iii) with an action or omission by, or with the knowledge of, one or more of

 the Teva Parties, the Reported Prices of certain Teva Covered Drugs of one or more of

 the Teva Parties were higher, and sometimes substantially higher, than the prices paid by

 customers of one or more of the Teva Parties for certain of the Teva Covered Drugs; (iv)

 one or more of the Teva Parties used an artificially inflated spread between the Reported

 Prices and the actual selling prices for drugs in marketing, promoting and/or selling Teva

 Covered Drugs to existing and potential customers; and (v) one or more of the Teva

 Parties allegedly knew that the reporting of false, fraudulent and/or inflated Reported

 Prices in connection with certain Teva Covered Drugs and/or marketing those Teva

 Covered Drugs based on the artificially inflated spread between the Reported Prices and

 the actual selling prices would cause the customers and others to submit false, fraudulent

 and/or inflated claims for reimbursement to the Medicaid Program (any action, omission

 or conduct, whether actual or alleged, contemplated by any provision of any of this clause

 (F) of these recitals or referred to or alleged in any of the Civil Actions is referred to as

 the “Covered Conduct”); however, as to the State of California only, Covered Conduct



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   shall encompass only Labeler Codes 00093, 00172, 00182, 00703, 38245, 55953, 00555,

   51285, 65473, 00575, 50732, 000332 and 57844, except as expressly set forth below; and

G. WHEREAS, the Plaintiffs contend that, as a result of the Covered Conduct, the Medicaid

   Program, the United States, the State of California, and the Settling States were damaged;

   and

H. WHEREAS, each of the Teva Parties denies any and all wrongdoing, and each of the

   Teva Parties denies that it has any liability, relating to the Covered Conduct; and

I. WHEREAS, to avoid the delay, expense, inconvenience, and uncertainty of protracted

   litigation of these disputed claims, and as a result of a mutual desire to settle their

   disputes, the Parties wish to resolve their differences arising from the Civil Actions and

   the Covered Conduct and have reached a full, fair, and final settlement as set forth in this

   Agreement, which settlement the Parties acknowledge and agree is not punitive in

   purpose or effect; and

J. WHEREAS, this Agreement is intended to fully, finally, and forever resolve any and all

   claims against, and liability of, any of the Teva Released Parties (as defined below) to

   any of the Plaintiffs, including qui tam claims brought on behalf of the United States or

   California to the extent encompassed by the Relator’s pleadings in the Federal Qui Tam

   Proceedings, for or arising from the Covered Conduct, including, without limitation, all

   of the claims that were brought, could have been brought, or could be brought in the

   future by or on behalf of any of the Plaintiffs related to the “Federal-Share” (defined to

   mean the United States’ portion of any Medicaid reimbursement) of any Medicaid

   reimbursement arising from any of the Covered Conduct for any Teva Covered Drug, or

   the “State-Share” (defined to mean a state’s portion of any Medicaid reimbursement) of



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       any Medicaid reimbursement for any of the Settling States arising from any of the

       Covered Conduct for any Teva Covered Drug; and

   K. WHEREAS, this Agreement is the result of a compromise of disputed issues of law and

       fact, and the execution and delivery of this Agreement shall not constitute or be construed

       as an admission of fault, liability, or wrongdoing by any of the Parties, nor does it

       constitute evidence of any liability or unlawful conduct on the part of the Parties, and this

       Agreement shall not be admissible as evidence of any fault or liability of the Parties in

       any investigation, administrative claim, action, suit, or proceeding, or federal or state

       court or arbitration proceeding; and

   III. TERMS AND CONDITIONS


       NOW, THEREFORE, in reliance on the representations contained herein and in

consideration of the mutual promises, covenants, and obligations set forth below in this

Agreement, and for other good and valuable consideration, the receipt and sufficiency of which

are hereby acknowledged, the Parties agree as follows:

       1.      The foregoing Preamble is incorporated herein.

       2.      In full and final settlement of all of the Released Claims, Teva Pharmaceuticals

USA, Inc. (the “Teva Payor”) shall pay, or shall cause to be paid on its behalf, the sum of one

hundred and sixty-nine million United States dollars ($169,000,000) (the “Settlement Amount”)

for the benefit of the Plaintiffs on the terms and subject to the conditions set forth herein. The

Parties agree that the Settlement Amount shall resolve, fully and finally, all of the Released

Claims. The Parties further agree that all amounts payable to any of the Relator’s (or any ot her

Plaintiff’s) attorneys or other representatives or advisors shall be paid out of the Settlement

Amount without further liability of any Teva Party.

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       3.      Within fifteen (15) business days following the Effective Date (as defined below),

the Teva Payor shall pay the Settlement Amount by wire transfer into an “Escrow Account” at

PNC Bank, National Association (the “Escrow Agent”) to be administered in accordance with

the terms of the separate Escrow Agreement in the form attached as Exhibit 1 hereto to be

executed by and among the Parties within (5) business days following the Effective Date (the

“Escrow Agreement”). The allocation of the Settlement Amount among the Plaintiffs, the

United States, the State of California, and their respective counsel is a matter that shall be and

has been handled separately by and among the Plaintiffs, the United States, the State of

California, and their advisors, without any involvement by or input from any of the Teva Parties.

None of the Teva Parties were consulted about the allocation of the Settlement Amount among

the Plaintiffs, the United States and the State of California nor has any Teva Party had any input

into the allocation. For this reason, none of the Teva Parties are in a position to agree to the

allocation and, as a part of the settlement, will not contest such allocation or be deemed to have

endorsed or been responsible for any such allocation. The Plaintiffs, the United States and the

State of California have agreed among themselves to share in the Settle ment Amount as set forth

in the “Settlement Amount Allocation Schedule” attached hereto as Exhibit 2.       Teva has been

informed by the Plaintiffs that the United States shall receive the amount of $100,000,000 from

the Settlement Amount from which it shall pay such relator awards pursuant to the United States

False Claims Act (31 U.S.C. § 3730) as may be agreed to between the United States and the

Relator or as ordered by the Court.

       4.      Within three (3) business days following the latter of the Teva Payor’s wire

transfer of the Settlement Amount into the Escrow Account or Teva counsel’s receipt of the

consents of the United States and the State of California executed by the authorized government



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officials, the Parties shall file the following with the courts for each of the Florida Proceedings,

the Texas Proceedings and the Federal Qui Tam Proceedings: (1) the Joint Stipulation of

Dismissal with Prejudice and the proposed Order of Dismissal with Prejudice in each case in the

forms attached hereto as Exhibits 3, 4 and 5 respectively; (2) the Consent of the United States in

the form attached hereto as Exhibit 6; (3) the Consent of the State of California in the form

attached hereto as Exhibit 7; and (4) motions seeking entry of the proposed Orders of Dismissal

with Prejudice. Each Party shall seek a prompt hearing on such motions and shall use its

reasonable best efforts to obtain entry of such proposed Orders of Dismissal with Prejudice and

to seek to cause each such Order of Dismissal with Prejudice to become a final and non-

appealable order without amendment or modification thereto or limitations thereof (a “Final

Order”) as soon as possible.

       5.      The Escrow Agent shall hold the Settlement Amount and any interest earned

thereon in escrow pursuant to the terms of the Escrow Agreement. The Escrow Agent shall not

distribute any portion of the Settlement Amount or any interest earned thereon until a Final

Order Confirmation Notice (as defined below) has been delivered for each of the Florida

Proceedings, the Texas Proceedings and the Federal Qui Tam Proceedings or as provided in

paragraph 6 below. If the Teva Payor becomes aware that any of the proposed Orders of

Dismissal with Prejudice shall have become a Final Order in a form reasonably acceptable to

effect the agreements and releases contemplated by this Agreement, it shall execute and deliver

to the Escrow Agent and each other Party a notice stating that a Final Order has been issued for

such Civil Action (a “Final Order Confirmation Notice”).           Upon receiving a Final Order

Confirmation Notice from Teva for each of the Florida Proceedings, the Texas Proceedings and

the Federal Qui Tam Proceedings and written distribution instructions from the Plaintiffs, the



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United States and the State of California as to the manner in which their respective distributions

pursuant to the Settlement Amount Allocation Schedule and any interest earned thereon should

be delivered, within three (3) business days following such date, the Escrow Agent shall

distribute the Settlement Amount, as set forth in the Settlement Amount Allocation Schedule,

and any interest earned thereon, pursuant to such written instructions from the Plaintiffs, the

United States and the State of California. No Teva Released Party shall have any liability or

obligation as a result of any failure by the Escrow Agent to make proper or timely payment

following delivery of all of the Final Order Confirmation Notices except to the extent expressly

provided for under the Escrow Agreement.

       6.      On any date that is six (6) months following the Effective Date if, as of such date,

a Final Order Confirmation Notice for each of the Florida Proceedings, the Texas Proceedings

and the Federal Qui Tam Proceedings has not been delivered to the Escrow Agent, within two (2)

business days following written request by the Teva Payor, the Escrow Agent shall return the

Settlement Amount and any interest earned thereon to the Teva Payor or any of its designees,

and this Agreement shall be automatically terminated and null and void, other than for any

claims for breach of this Agreement prior to such termination, which shall survive any such

termination. The Plaintiffs shall have no liability or obligation as a result of any failure by the

Escrow Agent to return the full amount of the Settlement Amount and any interest thereon to the

Teva Payor or any of its designees. In the event that this Agreement is so terminated, any action

dismissed pursuant to this Agreement may be reinstated a nd any statute of limitation shall be

deemed tolled during such reinstatement. The parties shall take such actions as are reasonably

necessary to cause Final Orders to be entered, including jointly moving for severance.




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       7.      In consideration of the obligations of the Teva Parties in this Agreement, and

conditioned on the Teva Payor’s payment in full of the Settlement Amount in accordance with

Paragraphs III.2 through III.6 above and receipt of the Orders of Dismissal with Prejudice, each

Plaintiff, on behalf of itself (including, with respect to the Relator, to the extent it is capable

under the law, all qui tam claims brought on behalf of the Settling States, California, and the

United States), and each of its and their predecessors, successors, heirs, trustees, subsidiaries,

parents, assigns, divisions and affiliates and any current or former shareholders, directors,

officers, agents, agencies, departments, employees, managers, partners, servants, attorneys,

advisors and other representatives of any of the foregoing, fully and finally release, acquit, and

forever discharge each of the Teva Parties and each of their respective present and former

predecessors, successors, heirs, trustees, subsidiaries, parents, assigns, divisions and affiliates

and each of the current and former shareholders, officers, directors, employees, managers,

partners, agents, agencies, departments, servants, attorneys, advisors and other representatives of

any of the foregoing (collectively, the “Teva Released Parties”) from any civil, regulatory and/or

administrative claim, action, suit, demand, right, cause of action, liability, judgment, damage or

proceeding, whether sealed or unsealed (including attorneys’ fees, penalties, punitive damages,

costs, and expenses of every kind and however denominated), which has been asserted, could

have been asserted or could be asserted in the future under any source of law, contract, in equity

or other right, for or arising from any of the Covered Conduct (colle ctively, the “Released

Claims”), including but not limited to the State-Share for any of the Settling States and the

Federal-Share of any claim brought by or on behalf of any of the fifty (50) states, the District of

Columbia or any United States territory for or arising out of the Covered Conduct or the price

reporting for reimbursement purposes for Teva Covered Drugs. Without limiting the generality



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of the foregoing, and to the fullest extent that the Relator and the Settling States are capable

under applicable law, this release fully discharges and releases each Teva Released Party from (i)

any obligation to pay Medicaid-related damages, restitution, fines and/or penalties arising from

the Covered Conduct; (ii) any civil obligation to the Relator or its attorneys, including any

Relator’s share, expenses, attorneys’ fees, and costs associated with the Civil Actions to which

Relator or its attorneys may be entitled; and (iii) any obligation to pay the State-Share of any

Settling State or California of any claim asserted in the Civil Actions or for any Covered

Conduct. In addition, the Relator, with the knowledge and the consent of the State of California,

hereby covenants and represents that it shall not attempt to revive or reinstate any action

previously dismissed by it against any of the Teva Parties for the Covered Conduct and, for

purposes of this sentence, “Covered Conduct” shall encompass all Teva Covered drugs

including, but not limited to, those under Labeler Codes 59310, 68546 and 50111 as to the State

of California.

       8.        In consideration of the obligations of the Plaintiffs set forth in this Agreement,

each Teva Party, on behalf of itself and its predecessors, successors, subsidiaries, parents,

assigns, divisions and affiliates and any current or former shareholders, directors, officers,

agents, employees, managers, partners, servants, attorneys, advisors and other representatives of

any of the foregoing fully and finally release the Settling States, any of their agencies, agents,

employees, servants, attorneys and departments, the Individual Plaintiffs and the Relator, in its

own capacity and in its capacity as qui tam representative of the United States of America, the

Settling States and the State of California, and Relator’s present and former predecessors,

successors, heirs, trustees, parents, subsidiaries, assigns, divisions and affiliates and each of the

current and former officers, directors, employees, managers, partners, agents, servants, attorneys,



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advisors and other representatives of any of the foregoing from any claims or liabilities arising

from the Covered Conduct, or the investigation or litigation of claims arising from the Covered

Conduct which any of Teva Parties has or could have asserted.

       9.      Nothing in this Agreement shall be construed to create a waiver of the Sovereign

Immunity of the United States of America, the State of Texas, the State of Florida, or the State of

California.

       10.     Notwithstanding any other term of this Agreement, including the release

provisions in Paragraphs III.7 and III.8 above, any and all of the following are specifically

reserved and excluded from the scope and terms of this Agreement, and from the scope and

terms of the releases, as to any entity or person (including the Parties):

               (a)     Any claims based upon such obligations as are created by this
                       Agreement;

               (b)     The subrogation rights to claims for personal injury or injury to real or
                       personal property arising from usage by a participant in the Medicaid
                       Program of any of the Teva Covered Drugs covered thereunder;

               (c)     Any claims based on a failure to deliver products or services due;

               (d)     Any civil, criminal, or administrative liability arising under Title 26, U.S.
                       Code (Internal Revenue Code) or any state tax or revenue law;

               (e)     Any criminal liability not specifically released by this Agreement; and

               (f)     Any express or implied warranty claims or other claims for defective or
                       deficient products and services provided by any Teva Party.

               (g)     Any claims based on or arising out of conduct occurring after the Effective
                       Date of this Agreement.

               (h)     Any liability to the United States, and the States of Florida, Texas or
                       California for any conduct other than the Covered Conduct;

               (i)     Any civil or administrative liability that Settling Defendants have or may
                       have under any state statute, regulation, or rule not covered by the release
                       provisions in Paragraph 7 above;



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                (j)    Any claims arising from the Settling Defendants’ obligations to report
                       prices and/or pay rebates to the State under any law or contract, including,
                       but not limited to, under the provisions of the Omnibus Budget
                       Reconciliation Act of 1990 and all amendments thereto.


       11.     The Parties each represent that this Agreement is freely and voluntarily entered

into without any degree of duress whatsoever.

       12.      Each Party shall bear its own legal and other costs incurred in connection with

this matter, including the preparation and performance of this Agreement.

       13.     This Agreement shall be governed by the laws of the United States. The Parties

agree that the exclusive jurisdiction and venue for any dispute arising between and among the

Parties under this Agreement relating to the Federal Qui Tam Proceedings shall be the United

States District Court for the District of Massachusetts and that the United States District Court

for the District of Massachusetts shall retain continuing jurisdiction over the enforcement of this

Agreement and all releases relating to the Federal Qui Tam Proceedings provided for herein,

including for purposes of issuing an injunction in protection of any court’s jurisdiction to enforce

the terms, conditions, and releases provided for in this Agreement. In as much as any provision

of this Agreement relates to the parties’ rights in the Florida Proceedings, including contractual

rights, releases or enforcement remedies, the exclusive jurisdiction and venue shall be the

Second Circuit in and for Leon County, Florida. In as much as any provision of this Agreement

relates to the parties’ rights in the Texas Proceedings, including contractual rights, releases or

enforcement remedies, the exclusive jurisdiction and venue shall be the 201 st Judicial District

Court of Travis County, Texas.




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       14.     This Agreement, together with the Escrow Agreement and all Exhibits constitute

the complete agreement between the Parties with regard to the subject matter hereof. This

Agreement may not be amended except by written consent of all of the Parties. The failure by

any of the Parties to enforce at any time, or for any period of time, any one or more of the terms

or conditions of this Agreement, or a course of dealings between the Parties, shall not be a

waiver of such terms or conditions or of such Party’s right thereafter to enforce each and every

term and condition of this Agreement.

       15.     The individuals signing this Agreement on behalf of a Party represent and warrant

that they are authorized to execute this Agreement on behalf of such Party.

       16.     This Agreement may be executed in counterparts, each of which constitutes an

original and all of which constitute one and the same Agreement.

       17.     This Agreement is binding on each of the Teva Parties and its respective

successors, transferees, and assigns.

       18.     This Agreement is binding on each of the Plaintiffs, their attorneys, successors,

transferees, heirs, and assigns.

       19.     This Agreement has been negotiated at arm’s length and between and among

persons sophisticated and knowledgeable in the matters dealt with in this Agreement.            In

addition, this Agreement was drafted by experienced and knowledgeable legal counsel for each

of the Parties. Accordingly, this Agreement shall be construed as if drafted jointly by the Parties

and no presumption or burden of proof shall arise favoring or disfavoring any Party by virtue of

the authorship of any of the provisions of this Agreement. The provisions of this Agreement

shall be interpreted in a reasonable manner to affect the purposes of the Parties and this

Agreement.



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        20.     If any provision of this Agreement, or the application thereof, shall for any reason

or to any extent be construed by a court of competent jurisdiction to be invalid or unenforceable,

the remainder of this Agreement, and application of such provision to other circumstances, shall

remain in effect and be interpreted so as best reasonably to effect the intent of the Parties.

Notwithstanding the foregoing, if either the payment or any of the release provisions hereof are

found to be unenforceable or invalid by a court of competent jurisdiction, then such invalidity or

unenforceability shall be cause for voiding the entirety of this Agreement at the election of the

Party the interests of which are injured by the finding of invalidity or unenforceability; however,

the Plaintiffs shall be entitled to re- file, reinstate and continue to litigate their claims against the

Defendants without regard to any statute of limitations or other time barred defense which may

be asserted by the Defendants for the time period related to this Settlement and any such time

period shall be deemed tolled from the time of dismissal.

        21.     This Agreement is effective on the date of signature of the last signatory to this

Agreement upon execution and delivery hereof by all of the Parties (the “Effective Date”).

Facsimiles or PDFs of signatures shall constitute acceptable binding signatures for purposes of

this Agreement.

                        [Remainder of this page is intentionally left blank]




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                  EXHIBIT 1
                     to
      SETTLEMENT AGREEMENT AND RELEASE
Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 23 of 106
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                          Form of Escrow Agreement

                               Appendix A




                 [Final Settlement Agreement and Release]




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                  EXHIBIT 2
                     to
      SETTLEMENT AGREEMENT AND RELEASE
          Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 37 of 106


Teva Settlement Allocation Schedule

Gross Allocations of Settlement Amount
The United States                                                             $100,000,000
The State of Florida                                                         $14,117,647.06
The State of Texas                                                           $51,382,352.94
The State of California                                                         $3,500,000
Total                                                                         $169,000,000




Allocations from Gross Amounts

The United States                                                            $100,000,000.00
                                                            Amount to be determined by
                                                            agreement of United States or as
                                                            ordered by the United States
                                                            Court after distributions from
Ven-A-Care U.S. Relator Share                               escrow.


The State of Florida
Ven-A-Care Florida Relator Share                                              $2,067,647.06
Ven-A-Care Attorneys' Fees and Costs Recovery                                   $1,000,000
Florida Agency Net                                                             $11,050,000

The State of Texas
The State of Texas Office of Attorney General
Attorneys' Fees and Costs Recovery                                               $1,200,000

                                                            To be determined and further
State of Texas Outside Counsel per contingency fee          distributed by the State of Texas
contract.                                                   after distributions from escrow.
Ven-A-Care Counsel Fee and Costs recovery                                          $3,500,000
Ven-A-Care Texas Relator Share                                                  $7,263,994.36
                                                            To be determined by the State
                                                            of Texas after distributions from
Texas Agency Net                                            escrow.


Escrow Agent's Distributions (exclusive of pro rata
escrow account income)
To the United States per directions of US Department
of Justice                                                                    $100,000,000
To the State of Florida per the directions of the Florida
Office of Attorney General                                                     $11,050,000
         Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 38 of 106


To the State of Texas per the directions of the Texas
Office of the Attorney General                             $40,618,359
To the State of California per the directions of the
California Office of the Attorney General                   $3,500,000
To Ven-A-Care of the Florida Keys, Inc. per the
direction of its lead counsel James J. Breen              $9,331,641.42

To Ven-A-Care of the Florida Keys, Inc. counsel per the
direction of its lead counsel James J. Breen                $4,500,000
Total Distributions by Escrow Agent Exclusive of
Account Income                                            $169,000,000
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                  EXHIBIT 3
                     to
      SETTLEMENT AGREEMENT AND RELEASE
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                 IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                    )
                                        )
ex rel.                                 )
                                        )
        VEN-A-CARE OF THE               )
        FLORIDA KEYS, INC.,             )
        a Florida Corporation, by and   )
        through its principal           )
        officers and directors,         )
        ZACHARY T. BENTLEY and          )
        T. MARK JONES,                  )
                                        )
                       Plaintiffs       )
                                        )         CIVIL ACTION NOS.   03-CA1165
                                        )                             98-CA3032
                                        )
                                        )
                        BARR            )
LABORATORIES, INC.; BARR                )
PHARMACEUTICALS, INC.;                  )
                                        )
                                        )
DURAMED RESEARCH, INC.;                 )
                                        )
                                        )
                                        )
IVAX CORPORATION;                       )
IVAX PHARMACEUTICALS, INC.;             )
                                        )
                                        )
                                        )
                                        )
                                        )
                                      ; )
                                        )
                                        )
                                        )
                                        )
TEVA PHARMACEUTICALS USA, INC.; )
TEVA PHARMACEUTICAL                     )
INDUSTRIES, LTD.;                       )
                            and ZENITH- )
GOLDLINE PHARMACEUTICALS, INC. )
                       Defendants.      )
____________________________________)
24062633_1.DOC                              -1-
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 STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
     DISMISSAL WITH PREJUDICE OF BARR LABORATORIES, INC., BARR
 PHARMACEUTICALS, INC., DURAMED RESEARCH, INC., IVAX CORPORATION,
 IVAX PHARMACEUTICALS, INC., TEVA PHARMACEUTICALS USA, INC., TEVA
       PHARMACEUTICAL INDUSTRIES, LTD. AND ZENITH-GOLDLINE
                      PHARMACEUTICALS, INC.

The above-captioned matters are actions brought under the qui tam provisions of the Florida

False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) by the State of Florida (“Florida,”) the

Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”) (collectively, the “Plaintiffs”)

against Barr Laboratories, Inc., Barr Pharmaceuticals, Inc., Duramed Research, Inc., Ivax

Corporation, Ivax Pharmaceuticals, Inc., Teva Pharmaceuticals USA Inc., Teva Pharmaceutical

Industries, Ltd. and Zenith-Goldline Pharmaceuticals, Inc. (the foregoing eight parties

collectively, “Barr/Ivax Parties”) (all of the foregoing parties collectively, the “Parties”).

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the FFCA, the Parties hereby stipulate to the entry of an order dismissing the

“Released Claims” relating to or arising from the “Covered Conduct” (as the terms in quotations

are defined in the attached Settlement Agreement and Release) and respectfully request that the

Court enter an order in the form attached hereto as Exhibit B.



Dated: ____________________, 2010              Respectfully submitted,



                                                /s/James J. Breen
                                               JAMES J. BREEN
                                               The Breen Law Firm, P.A.
                                               5755 North Point Parkway, Suite 260
                                               Alpharetta, GA 30022
                                               (770) 740-0008

                                               Counsel for Relator




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                                     /s/ Lisabeth Kirk Rogers
                                    LISABETH KIRK ROGERS
                                    Assistant Attorney General
                                    Office of the Attorney General
                                    Medicaid Fraud Control Unit
                                    PL-01, The Capitol
                                    Tallahassee, Florida 32399-1050
                                    (850) 414-3600

                                    Counsel for State of Florida


                                     /s/Jennifer G. Levy
                                    JENNIFER G. LEVY
                                    Kirkland & Ellis LLP
                                    655 Fifteenth St., NW
                                    Washington, DC 20005
                                    (202) 879-5211

                                    Counsel for Teva Parties/Barr/Ivax Parties




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                            EXHIBIT A
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
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                            EXHIBIT B
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 45 of 106




                 IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                    )
                                        )
ex rel.                                 )
                                        )
        VEN-A-CARE OF THE               )
        FLORIDA KEYS, INC.,             )
        a Florida Corporation, by and   )
        through its principal           )
        officers and directors,         )
        ZACHARY T. BENTLEY and          )
        T. MARK JONES,                  )
                                        )
                       Plaintiffs       )
                                        )         CIVIL ACTION NOS.   03-CA1165
                                        )                             98-CA3032
                                        )
                                        )
                        BARR            )
LABORATORIES, INC.; BARR                )
PHARMACEUTICALS, INC.;                  )
                                        )
                                        )
DURAMED RESEARCH, INC.;                 )
                                        )
                                        )
                                        )
IVAX CORPORATION;                       )
IVAX PHARMACEUTICALS, INC.;             )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
                                        )
TEVA PHARMACEUTICALS USA, INC.; )
TEVA PHARMACEUTICAL                     )
INDUSTRIES, LTD.;                       )
                            and ZENITH- )
GOLDLINE PHARMACEUTICALS, INC. )
                       Defendants.      )
________________________________)
24062633_1.DOC                              -1-
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  ORDER OF DISMISSAL WITH PREJUDICE OF BARR LABORATORIES, INC.,
     BARR PHARMACEUTICALS, INC., DURAMED RESEARCH, INC., IVAX
 CORPORATION, IVAX PHARMACEUTICALS, INC., TEVA PHARMACEUTICALS
    USA, INC., TEVA PHARMACEUTICAL INDUSTRIES, LTD. AND ZENITH-
                   GOLDLINE PHARMACEUTICALS, INC.

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) the State of

Florida (“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

(collectively, the “Plaintiffs”) and Barr Laboratories, Inc., Barr Pharmaceuticals, Inc., Duramed

Research, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Teva Pharmaceuticals USA, Inc.,

Teva Pharmaceutical Industries, Ltd. and Zenith-Goldline Pharmaceuticals, Inc. (the foregoing

eight parties collectively, “Barr/Ivax Parties”) (all of the foregoing parties collectively, the

“Parties”) filed with this Court, a Stipulation of Dismissal with Prejudice of the Barr Parties and

Motion for Order of Dismissal with Prejudice of the Barr/Ivax Parties. Upon due consideration

of the Stipulation and the Parties’ Settlement Agreement and Release and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted by the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees and costs.




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        3.       The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of _______________, 2010.



                                               _______________________________
                                               Circuit Judge Jackie L. Fulford




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                 IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                       Plaintiffs     )
                                      )                 CIVIL ACTION NOS.         03-CA1165-A
                                      )                                           98-CA3032
                                      )
                                      )
                                      )
                                      )
IVAX CORPORATION;                     )
IVAX PHARMACEUTICALS, INC.;           )
                                      )
                                      )
                   and ZENITH-        )
GOLDLINE PHARMACEUTICALS, INC. )
                                      )
                       Defendants.    )
__________________________________ )

    STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR
  ORDER OF DISMISSAL WITH PREJUDICE OF IVAX CORPORATION, IVAX
PHARMACEUTICALS, INC., AND ZENITH-GOLDLINE PHARMACEUTICALS, INC.

        The above-captioned matters are actions brought under the qui tam provisions of the

Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) by the State of Florida

(“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”) (collectively, the

“Plaintiffs”) against Ivax Corporation, Ivax Pharmaceuticals, Inc., and Zenith-Goldline

Pharmaceuticals, Inc., (the foregoing three parties collectively, “Ivax Parties”) (all of the

foregoing parties collectively, the “Parties”).

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        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the FFCA, the Parties hereby stipulate to the entry of an order dismissing the

“Released Claims” relating to or arising from the “Covered Conduct” (as the terms in quotations

are defined in the attached Settlement Agreement and Release) and respectfully request that the

Court enter an order in the form attached hereto as Exhibit B.

Dated: _____________, 2010                   Respectfully submitted,



                                              /s/James J. Breen
                                             JAMES J. BREEN
                                             The Breen Law Firm, P.A.
                                             5755 North Point Parkway, Suite 260
                                             Alpharetta, GA 30022
                                             (770) 740-0008

                                             Counsel for Relator


                                              /s/Lisabeth Kirk Rogers
                                             LISABETH KIRK ROGERS
                                             Assistant Attorney General
                                             Office of the Attorney General
                                             Medicaid Fraud Control Unit
                                             PL-01, The Capitol
                                             Tallahassee, Florida 32399-1050
                                             (850) 414-3600

                                             Counsel for State of Florida


                                              /s/Jennifer G. Levy
                                             JENNIFER G. LEVY
                                             Kirkland & Ellis LLP
                                             655 Fifteenth St., NW
                                             Washington, DC 20005
                                             (202) 879-5211

                                             Counsel for Teva Parties/Ivax Parties




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                            EXHIBIT A
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
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                            EXHIBIT B
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 52 of 106




                 IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                       Plaintiffs     )
                                      )               CIVIL ACTION NOS.              03-CA1165-A
                                      )                                              98-CA3032
                                      )
                                      )
                                      )
                                      )
IVAX CORPORATION;                     )
IVAX PHARMACEUTICALS, INC.;           )
                                      )
                                      )
                   and ZENITH-        )
GOLDLINE PHARMACEUTICALS, INC. )
                                      )
                       Defendants.    )
___________________________________ )

  ORDER OF DISMISSAL WITH PREJUDICE OF IVAX CORPORATION, IVAX
PHARMACEUTICALS, INC., AND ZENITH-GOLDLINE PHARMACEUTICALS, INC.

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) the State of

Florida (“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

(collectively, the “Plaintiffs”) and Ivax Corporation, Ivax Pharmaceuticals, Inc., and Zenith-

Goldline Pharmaceuticals, Inc. (the foregoing three parties collectively, “Ivax Parties”) (all of the

foregoing parties collectively, the “Parties”) filed with this Court, a Stipulation of Dismissal with

Prejudice of the Ivax Parties and Motion for Order of Dismissal with Prejudice of the Ivax
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Parties. Upon due consideration of the Stipulation and the Parties’ Settlement Agreement and

Release and the Court’s determination that the Settlement Amount appears to the Court to be

fair, adequate, and reasonable under all the circumstances, the Court hereby approves the

Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted by the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees and costs.

        3.        The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of _______________, 2010.



                                                _______________________________
                                                Circuit Judge Jackie L. Fulford




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                 IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                       Plaintiffs     )
                                      )             CIVIL ACTION NO. 98-CA3032 E
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
GENSIA SICOR PHARMACEUTICALS,         )
INC.;                                 )
                                      )
                                      )
                                      )
SICOR, INC.;                          )
                                      )
                                      )
                       Defendants.    )
____________________________________)

         STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR
            ORDER OF DISMISSAL WITH PREJUDICE OF GENSIA SICOR
                  PHARMACEUTICALS, INC. AND SICOR, INC.

        The above-captioned matters are actions brought under the qui tam provisions of the

Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) by the State of Florida

(“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”) (collectively, the
24062633_1.DOC                                -1-
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                            EXHIBIT A
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 56 of 106


“Plaintiffs”) against Gensia Sicor Pharmaceuticals, Inc. and Sicor, Inc. (the foregoing two parties

collectively, “Gensia Parties”) (all of the foregoing parties collectively, the “Parties”).

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the FFCA, the Parties hereby stipulate to the entry of an order dismissing the

“Released Claims” relating to or arising from the “Covered Conduct” (as the terms in quotations

are defined in the attached Settlement Agreement and Release) and respectfully request that the

Court enter an order in the form attached hereto as Exhibit B.

Dated: ______________, 2010                    Respectfully submitted,


                                                /s/James J. Breen
                                               JAMES J. BREEN
                                               The Breen Law Firm, P.A.
                                               5755 North Point Parkway, Suite 260
                                               Alpharetta, GA 30022
                                               (770) 740-0008

                                               Counsel for Relator


                                                /s/Lisabeth Kirk Rogers
                                               LISABETH KIRK ROGERS
                                               Assistant Attorney General
                                               Office of the Attorney General
                                               Medicaid Fraud Control Unit
                                               PL-01, The Capitol
                                               Tallahassee, Florida 32399-1050
                                               (850) 414-3600

                                               Counsel for State of Florida


                                                /s/Jennifer G. Levy
                                               JENNIFER G. LEVY
                                               Kirkland & Ellis LLP
                                               655 Fifteenth St., NW
                                               Washington, DC 20005
                                               (202) 879-5211

                                               Counsel for Teva Parties/Gensia Parties



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                            EXHIBIT B
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
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                 IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                       Plaintiffs     )
                                      )           CIVIL ACTION NO. 98-CA3032 E
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
                                      )
GENSIA SICOR PHARMACEUTICALS,         )
INC.;                                 )
                                      )
                                      )
                                      )
SICOR, INC.; and                      )
                                      )
                                      )
                       Defendants.    )
____________________________________)

             ORDER OF DISMISSAL WITH PREJUDICE OF GENSIA SICOR
                   PHARMACEUTICALS, INC. AND SICOR, INC.

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) the State of

Florida (“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”)
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(collectively, the “Plaintiffs”) and Gensia Sicor Pharmaceuticals, Inc. and Sicor, Inc. (the

foregoing two parties collectively, “Gensia Parties”) (all of the foregoing parties collectively, the

“Parties”) filed with this Court, a Stipulation of Dismissal with Prejudice of the Gensia Parties

and Motion for Order of Dismissal with Prejudice of the Gensia Parties. Upon due consideration

of the Stipulation and the Parties’ Settlement Agreement and Release and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted by the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees and costs.

        3.        The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of _______________, 2010.



                                                _______________________________
                                                Circuit Judge Jackie L. Fulford




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           IN THE CIRCUIT COURT FOR THE SECOND JUDICIAL CIRCUIT
                      IN AND FOR LEON COUNTY, FLORIDA
                           CIRCUIT CIVIL DIVISION

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                                      )
                Plaintiffs,           )
                                      )             CIVIL ACTION NO. 98-3032F
        vs.                           )                              03-CA1165A
                                      )
ALPHARMA, INC.; ALPHARMA              )
USPD, INC. f/k/a BARRE-NATIONAL, )
INC.; BARRE PARENT                    )
CORPORATION; FAULDING, INC.;          )
IVAX CORPORATION; IVAX                )
PHARMACEUTICALS, INC. f/k/a           )
ZENITH-GOLDLINE                       )
PHARMACEUTICALS, INC.; MAYNE )
GROUP, LTD.; SANDOZ INC., f/k/a       )
GENEVA PHARMACEUTICALS, INC.; )
NOVARTIS A.G.; PUREPAC                )
PHARMACEUTICAL CO. ; ACTAVIS, )
INC.; ACTAVIS ELIZABETH LLC.;         )
and ACTAVIS MID ATLANTIC LLC )
                                      )
                Defendants.           )
____________________________________)

 STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
      DISMISSAL WITH PREJUDICE OF IVAX CORPORATION AND IVAX
  PHARMACEUTICALS, INC., F/K/A ZENITH-GOLDLINE PHARMACEUTICALS,
                                 INC.

        The above-captioned matters are actions brought under the qui tam provisions of the

Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) by the State of Florida

(“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”) (collectively, the
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“Plaintiffs”) against Ivax Corporation, Ivax Pharmaceuticals, Inc., f/k/a Zenith-Goldline

Pharmaceuticals, Inc. (the foregoing three parties collectively, “Ivax Parties”) (all of the

foregoing parties collectively, the “Parties”).

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the FFCA, the Parties hereby stipulate to the entry of an order dismissing the

“Released Claims” relating to or arising from the “Covered Conduct” (as the terms in quotations

are defined in the attached Settlement Agreement and Release) and respectfully request that the

Court enter an order in the form attached hereto as Exhibit B.

Dated: ______________, 2010                       Respectfully submitted,


                                                   /s/James J. Breen
                                                  JAMES J. BREEN
                                                  The Breen Law Firm, P.A.
                                                  5755 North Point Parkway, Suite 260
                                                  Alpharetta, GA 30022
                                                  (770) 740-0008

                                                  Counsel for Relator


                                                   /s/Lisabeth Kirk Rogers
                                                  LISABETH KIRK ROGERS
                                                  Assistant Attorney General
                                                  Office of the Attorney General
                                                  Medicaid Fraud Control Unit
                                                  PL-01, The Capitol
                                                  Tallahassee, Florida 32399-1050
                                                  (850) 414-3600

                                                  Counsel for State of Florida


                                                   /s/Jennifer G. Levy
                                                  JENNIFER G. LEVY
                                                  Kirkland & Ellis LLP
                                                  655 Fifteenth St., NW
                                                  Washington, DC 20005
                                                  (202) 879-5211

                                                  Counsel for Teva Parties/Ivax Parties
24062633_1.DOC                                     -2-
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                            EXHIBIT A
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
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                            EXHIBIT B
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
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           IN THE CIRCUIT COURT FOR THE SECOND JUDICIAL CIRCUIT
                      IN AND FOR LEON COUNTY, FLORIDA
                           CIRCUIT CIVIL DIVISION

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                                      )
                Plaintiffs,           )
                                      )           CIVIL ACTION NO. 98-3032F
        vs.                           )                            03-CA1165A
                                      )
                                      )
ALPHARMA, INC.; ALPHARMA              )
USPD, INC. f/k/a BARRE-NATIONAL, )
INC.; BARRE PARENT                    )
CORPORATION; FAULDING, INC.;          )
IVAX CORPORATION; IVAX                )
PHARMACEUTICALS, INC., f/k/a          )
ZENITH-GOLDLINE                       )
PHARMACEUTICALS, INC.; MAYNE )
GROUP, LTD.; SANDOZ INC., f/k/a       )
GENEVA PHARMACEUTICALS, INC.; )
NOVARTIS A.G.; PUREPAC                )
PHARMACEUTICAL CO.; ACTAVIS, )
INC.; ACTAVIS ELIZABETH LLC.;         )
and ACTAVIS MID ATLANTIC LLC )
                                      )
                Defendants.           )
____________________________________)

         ORDER OF DISMISSAL WITH PREJUDICE OF IVAX CORPORATION
          AND IVAX PHARMACEUTICALS, INC., F/K/A ZENITH-GOLDLINE
                         PHARMACEUTICALS, INC.

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) the State of

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Florida (“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

(collectively, the “Plaintiffs”) and Ivax Corporation, Ivax Pharmaceuticals, Inc., f/k/a Zenith-

Goldline Pharmaceuticals, Inc. (the foregoing three parties collectively, “Ivax Parties”) (all of the

foregoing parties collectively, the “Parties”) filed with this Court, a Stipulation of Dismissal with

Prejudice of the Ivax Parties and Motion for Order of Dismissal with Prejudice of the Ivax

Parties. Upon due consideration of the Stipulation and the Parties’ Settlement Agreement and

Release and the Court’s determination that the Settlement Amount appears to the Court to be

fair, adequate, and reasonable under all the circumstances, the Court hereby approves the

Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted by the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees and costs.

        3.        The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of _______________, 2010.




                                                _______________________________
                                                Circuit Judge Jackie L. Fulford


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     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 66 of 106




           IN THE CIRCUIT COURT FOR THE SECOND JUDICIAL CIRCUIT
                      IN AND FOR LEON COUNTY, FLORIDA
                           CIRCUIT CIVIL DIVISION

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                       Plaintiffs     )
                                      )              CIVIL ACTION NO.: 98-3032G
                       v.             )
                                      )
MYLAN LABORATORIES, INC.;             )
MYLAN PHARMACEUTICALS, INC.; )
NOVOPHARM, LTD.; SCHEIN               )
PHARMACEUTICAL, INC.;                 )
TEVA PHARMACEUTICAL                   )
INDUSTRIES, LTD.; TEVA                )
PHARMACEUTICALS USA, INC.; and )
WATSON PHARMACEUTICALS, INC. )
                                      )
                       Defendants.    )
____________________________________)


STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
DISMISSAL WITH PREJUDICE OF TEVA PHARMACEUTICAL INDUSTRIES, LTD.
               AND TEVA PHARMACEUTICALS USA, INC.

        The above-captioned matters are actions brought under the qui tam provisions of the

Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) by the State of Florida

(“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”) (collectively, the

“Plaintiffs”) against Teva Pharmaceutical Industries, Ltd. and Teva Pharmaceuticals USA, Inc.

(the foregoing two parties collectively, “Teva Parties”) (all of the foregoing parties collectively,

the “Parties”).
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        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the FFCA, the Parties hereby stipulate to the entry of an order dismissing the

“Released Claims” relating to or arising from the “Covered Conduct” (as the terms in quotations

are defined in the attached Settlement Agreement and Release) and respectfully request that the

Court enter an order in the form attached hereto as Exhibit B.

Dated: _____________, 2010                   Respectfully submitted,



                                              /s/James J. Breen
                                             JAMES J. BREEN
                                             The Breen Law Firm, P.A.
                                             5755 North Point Parkway, Suite 260
                                             Alpharetta, GA 30022
                                             (770) 740-0008

                                             Counsel for Relator


                                              /s/Lisabeth Kirk Rogers
                                             LISABETH KIRK ROGERS
                                             Assistant Attorney General
                                             Office of the Attorney General
                                             Medicaid Fraud Control Unit
                                             PL-01, The Capitol
                                             Tallahassee, Florida 32399-1050
                                             (850) 414-3600

                                             Counsel for State of Florida


                                              /s/Jennifer G. Levy
                                             JENNIFER G. LEVY
                                             Kirkland & Ellis LLP
                                             655 Fifteenth St., NW
                                             Washington, DC 20005
                                             (202) 879-5211

                                             Counsel for Teva Parties




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                            EXHIBIT A
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
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                            EXHIBIT B
                               TO
STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
                    DISMISSAL WITH PREJUDICE
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 70 of 106




           IN THE CIRCUIT COURT FOR THE SECOND JUDICIAL CIRCUIT
                      IN AND FOR LEON COUNTY, FLORIDA
                           CIRCUIT CIVIL DIVISION

THE STATE OF FLORIDA                  )
                                      )
ex rel.                               )
                                      )
        VEN-A-CARE OF THE             )
        FLORIDA KEYS, INC.,           )
        a Florida Corporation, by and )
        through its principal         )
        officers and directors,       )
        ZACHARY T. BENTLEY and        )
        T. MARK JONES,                )
                                      )
                       Plaintiffs     )
                                      )               CIVIL ACTION NO.: 98-3032G
                       v.             )
                                      )
MYLAN LABORATORIES, INC.;             )
MYLAN PHARMACEUTICALS, INC.; )
NOVOPHARM, LTD.; SCHEIN               )
PHARMACEUTICAL, INC.;                 )
TEVA PHARMACEUTICAL                   )
INDUSTRIES, LTD.; TEVA                )
PHARMACEUTICALS USA, INC.; and )
WATSON PHARMACEUTICALS, INC. )
                                      )
                       Defendants.    )
____________________________________)


      ORDER OF DISMISSAL WITH PREJUDICE OF TEVA PHARMACEUTICAL
         INDUSTRIES, LTD. AND TEVA PHARMACEUTICALS USA, INC.

        Pursuant to Rule 1.420(a) of the Florida Rules of Civil Procedure and the qui tam

provisions of the Florida False Claims Act, Fla. Stat. § 68.081 et seq. (“FFCA,”) the State of

Florida (“Florida,”) the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

(collectively, the “Plaintiffs”) and Teva Pharmaceutical Industries, Ltd. and Teva

Pharmaceuticals USA, Inc. (the foregoing two parties collectively, “Teva Parties”) (all of the

foregoing parties collectively, the “Parties”) filed with this Court, a Stipulation of Dismissal with

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Prejudice of the Teva Parties and Motion for Order of Dismissal with Prejudice of the Teva

Parties. Upon due consideration of the Stipulation and the Parties’ Settlement Agreement and

Release and the Court’s determination that the Settlement Amount appears to the Court to be

fair, adequate, and reasonable under all the circumstances, the Court hereby approves the

Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted by the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees and costs.

        3.        The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of _______________, 2010.



                                                _______________________________
                                                Circuit Judge Jackie L. Fulford




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                  EXHIBIT 4
                     to
      SETTLEMENT AGREEMENT AND RELEASE
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                               CAUSE NO D-1-GV-07-001259


THE STATE OF TEXAS,                                 §    IN THE DISTRICT COURT
    ex rel..                                        §
    VEN-A-CARE OF THE                               §
    FLORIDA KEYS, INC.                              §
                                                    §
                     Plaintiffs,                    §
                                                    §
        v.                                          §
                                                    §
SANDOZ, INC., f/k/a GENEVA                          §
PHARMACEUTICALS, INC.                               §
NOVARTIS PHARMACEUTICALS,                           §
INC., NOVARTIS AG, EON LABS,                        §
APOTHECON, INC.                                     §
                                                    §
MYLAN PHARMACEUTICALS,                              §    OF TRAVIS COUNTY, TEXAS
INC., MYLAN LABORATORIES,                           §
INC., UDL LABORATORIES, INC.                        §
                                                    §
TEVA PHARMACEUTICALS USA,                           §
INC., f/k/a LEMMON                                  §
PHARMACEUTICALS, INC.,                              §
COPLEY PHARMACEUTICALS, INC.,                       §
IVAX PHARMACEUTICALS, INC.,                         §
SICOR PHARMACEUTICALS,                              §
INC., AND NOVOPHARM USA, INC.                       §
                                                    §
                                                    §
                                                    §
                     Defendants.                    §    201st JUDICIAL DISTRICT



 STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
    DISMISSAL WITH PREJUDICE OF TEVA PHARMACEUTICALS USA, INC.,
  COPLEY PHARMACEUTICALS, INC., IVAX PHARMACEUTICALS, INC., SICOR
          PHARMACEUTICALS, INC., AND NOVOPHARM USA, INC.

        The above-captioned matters are actions brought under the qui tam provisions of the

Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code § 36.001, et seq. (“TMFPA”), by

the State of Texas (“Texas”), the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”

together with Texas “Plaintiffs”), against Teva Pharmaceuticals USA, Inc., Copley
24062633_1.DOC                               -1-
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Pharmaceuticals, Inc., Ivax Pharmaceuticals, Inc., Sicor Pharmaceuticals, Inc. and Novopharm

USA, Inc. (the foregoing five parties collectively, “Teva Parties”) (all of the forgoing parties

together, the “Parties”).

        The Parties hereby stipulate to the entry of an order dismissing the “Released Claims”

relating to or arising from the “Covered Conduct” (as the terms in quotations are defined in the

attached Settlement Agreement and Release) and respectfully request that the Court enter an

order in the form attached hereto.

                                            Respectfully submitted,



                                            _/s/ James J. Breen_________________
                                            JAMES J. BREEN
                                            The Breen Law Firm, P.A.
                                            5755 North Point Parkway, Suite 260
                                            Alpharetta, GA 30022
                                            (770) 740-0008
                                            Counsel for Relator

                                            _/s/ Raymond C. Winter
                                            RAYMOND C. WINTER
                                            Chief, Civil Medicaid Fraud Division
                                            Office of the Attorney General of Texas
                                            P.O. Box 12548
                                            Austin, Texas 78711-2548
                                            (512) 936-1709

                                            Counsel for the State of Texas


                                            _/s/ Jennifer G. Levy_______________
                                            JENNIFER G. LEVY
                                            KIRKLAND & ELLIS LLP
                                            655 Fifteenth St., NW
                                            Washington, DC 20005
                                            (202) 879-5211

                                            Counsel for Teva Parties

        Dated: ________________, 2010

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                                 CAUSE NO D-1-GV-07-001259


THE STATE OF TEXAS,                                      §    IN THE DISTRICT COURT
    ex rel..                                             §
    VEN-A-CARE OF THE                                    §
    FLORIDA KEYS, INC.                                   §
                                                         §
                       Plaintiffs,                       §
                                                         §
        v.                                               §
                                                         §
SANDOZ, INC., f/k/a GENEVA                               §
PHARMACEUTICALS, INC.                                    §
NOVARTIS PHARMACEUTICALS,                                §
INC., NOVARTIS AG, EON LABS,                             §
APOTHECON, INC.                                          §
                                                         §
MYLAN PHARMACEUTICALS,                                   §    OF TRAVIS COUNTY, TEXAS
INC., MYLAN LABORATORIES,                                §
INC., UDL LABORATORIES, INC.                             §
                                                         §
TEVA PHARMACEUTICALS USA,                                §
INC., f/k/a LEMMON                                       §
PHARMACEUTICALS, INC.,                                   §
COPLEY PHARMACEUTICALS, INC.,                            §
IVAX PHARMACEUTICALS, INC.,                              §
SICOR PHARMACEUTICALS,                                   §
INC., AND NOVOPHARM USA, INC.                            §
                                                         §
                                                         §
                                                         §
                       Defendants.                       §    201st JUDICIAL DISTRICT


 ORDER OF DISMISSAL WITH PREJUDICE OF TEVA PHARMACEUTICALS USA,
  INC., COPLEY PHARMACEUTICALS, INC., IVAX PHARMACEUTICALS, INC.,
        SICOR PHARMACEUTICALS, INC., AND NOVOPHARM USA, INC.

        Before the Court for consideration is the Joint Stipulation and Motion to Dismiss filed by

the State of Texas, the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”), and Teva

Pharmaceuticals USA, Inc., Copley Pharmaceuticals, Inc., Ivax Pharmaceuticals, Inc., Sicor

Pharmaceuticals, Inc. and Novopharm USA, Inc. (the foregoing five parties collectively, “Teva

Parties”) (all of the forgoing parties together, the “Parties”) filed with this Court, a Stipulation of
24062633_1.DOC                                   -1-
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Dismissal with Prejudice of the Teva Parties and Motion for Order of Dismissal with Prejudice

of the Teva Parties. Upon due consideration of the Stipulation and the Parties’ Settlement

Agreement and Release and the Court’s determination that the Settlement Amount appears to the

Court to be fair, adequate, and reasonable under all the circumstances, the Court hereby approves

the Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted by the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

        3.        The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of _________, 2010.



                                                ________________________________________
                                                Hon. John K. Dietz




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                               CAUSE NO. D-1-GV-08-001565

THE STATE OF TEXAS                            §                   IN THE DISTRICT COURT
                                              §
ex rel.                                       §
VEN-A-CARE OF THE FLORIDA KEYS, INC.          §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §
                                              §
ALPHARMA, INC., ALPHARMA USPD f/k/a BARRE- §
NATIONAL, INC., PUREPAC PHARMACEUTICAL        §
CO., ACTAVIS MID ATLANTIC LLC, ACTAVIS        §
ELIZABETH LLC, BARRE PARENT CORP.             §                   TRAVIS COUNTY, TEXAS
                                              §
BARR PHARMACEUTICALS, INC., BARR              §
LABORATORIES, INC., DURAMED                   §
PHARMACEUTICALS, INC., DURAMED RESEARCH, §
INC., PLIVA, INC., f/k/a SIDMAK LABORATORIES, §
INC., ODYSSEY PHARMACEUTICALS, INC.           §
                                              §
PAR PHARMACEUTICALS, INC., PAR                §
PHARMACEUTICAL COMPANIES, INC.                §
                                              §
WATSON PHARMACEUTICALS, INC., SCHEIN          §
PHARMACEUTICAL, INC., RUGBY LABORATORIES, §
INC., OCLASSEN PHARMACEUTICALS, INC.,         §
MARSAM PHARMACEUTICALS, INC., AND             §
ANDRX PHARMACEUTICALS, INC.                   §
                                              §
        Defendants.                           §                   419th JUDICIAL DISTRICT



STIPULATION OF DISMISSAL WITH PREJUDICE AND MOTION FOR ORDER OF
  DISMISSAL WITH PREJUDICE OF BARR PHARMACEUTICALS, INC., BARR
LABORATORIES, INC., DURAMED PHARMACEUTICALS, INC., PLIVA, INC., AND
                 ODYSSEY PHARMACEUTICALS, INC.

        The above-captioned matters are actions brought under the qui tam provisions of the

Texas Medicaid Fraud Prevention Act, Tex. Hum. Res. Code § 36.001, et seq. (“TMFPA”), by

the State of Texas (“Texas”), the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”

together with Texas “Plaintiffs”), against Barr Pharmaceuticals, Inc., Barr Laboratories, Inc.,


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     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 78 of 106




Duramed Pharmaceuticals, Inc., Pliva, Inc., and Odyssey Pharmaceuticals, Inc., (the foregoing

five parties collectively, “Barr Parties”) (all of the forgoing parties together, the “Parties”).

        The Parties hereby stipulate to the entry of an order dismissing the “Released Claims”

relating to or arising from the “Covered Conduct” (as the terms in quotations are defined in the

attached Settlement Agreement and Release) and respectfully request that the Court enter an

order in the form attached hereto.

                                                Respectfully submitted,



                                                _/s/ James J. Breen_________________
                                                JAMES J. BREEN
                                                The Breen Law Firm, P.A.
                                                5755 North Point Parkway, Suite 260
                                                Alpharetta, GA 30022
                                                (770) 740-0008

                                                Counsel for Relator

                                                _/s/ Raymond C. Winter
                                                RAYMOND C. WINTER
                                                Chief, Civil Medicaid Fraud Division
                                                Office of the Attorney General of Texas
                                                P.O. Box 12548
                                                Austin, Texas 78711-2548
                                                (512) 936-1709

                                                Counsel for the State of Texas

                                                _/s/ Jennifer G. Levy ______________
                                                JENNIFER G. LEVY
                                                KIRKLAND & ELLIS LLP
                                                655 Fifteenth St., NW
                                                Washington, DC 20005
                                                (202) 879-5211

                                                Counsel for Barr Parties

        Dated: ________ ___, 2010




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     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 79 of 106




                                CAUSE NO. D-1-GV-08-001565

THE STATE OF TEXAS                            §                      IN THE DISTRICT COURT
                                              §
ex rel.                                       §
VEN-A-CARE OF THE FLORIDA KEYS, INC.          §
                                              §
        Plaintiffs,                           §
                                              §
v.                                            §
                                              §
ALPHARMA, INC., ALPHARMA USPD f/k/a BARRE- §
NATIONAL, INC., PUREPAC PHARMACEUTICAL        §
CO., ACTAVIS MID ATLANTIC LLC, ACTAVIS        §
ELIZABETH LLC, BARRE PARENT CORP.             §                      TRAVIS COUNTY, TEXAS
                                              §
BARR PHARMACEUTICALS, INC., BARR              §
LABORATORIES, INC., DURAMED                   §
PHARMACEUTICALS, INC., DURAMED RESEARCH, §
INC., PLIVA, INC., f/k/a SIDMAK LABORATORIES, §
INC., ODYSSEY PHARMACEUTICALS, INC.           §
                                              §
PAR PHARMACEUTICALS, INC., PAR                §
PHARMACEUTICAL COMPANIES, INC.                §
                                              §
WATSON PHARMACEUTICALS, INC., SCHEIN          §
PHARMACEUTICAL, INC., RUGBY LABORATORIES, §
INC., OCLASSEN PHARMACEUTICALS, INC.,         §
MARSAM PHARMACEUTICALS, INC., AND             §
ANDRX PHARMACEUTICALS, INC.                   §
                                              §
        Defendants.                           §                      419th JUDICIAL DISTRICT


 ORDER OF DISMISSAL WITH PREJUDICE OF BARR PHARMACEUTICALS, INC.,
  BARR LABORATORIES, INC., DURAMED PHARMACEUTICALS, INC., PLIVA,
              INC., AND ODYSSEY PHARMACEUTICALS, INC.

        Before the Court for consideration is the Joint Stipulation and Motion to Dismiss filed by

the State of Texas, the Relator, Ven-A-Care of the Florida Keys, Inc. (the “Relator”), and Barr

Pharmaceuticals, Inc., Barr Laboratories, Inc., Duramed Pharmaceuticals, Inc., Pliva, Inc., and

Odyssey Pharmaceuticals, Inc., (the foregoing five parties collectively, “Barr Parties”) (all of the

forgoing parties together, the “Parties”) filed with this Court, a Stipulation of Dismissal with


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     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 80 of 106




Prejudice of the Barr Parties and Motion for Order of Dismissal with Prejudice of the Barr

Parties. Upon due consideration of the Stipulation and the Parties’ Settlement Agreement and

Release and the Court’s determination that the Settlement Amount appears to the Court to be

fair, adequate, and reasonable under all the circumstances, the Court hereby approves the

Settlement.

        WHEREFORE, IT IS ORDERED, that

        1.        Consistent with the terms of the Settlement Agreement and Release, attached as

Exhibit A, all claims asserted or that could have been asserted b y the Plaintiffs in the above-

captioned Civil Action (the “Released Claims”) arising from the “Covered Conduct” (as the

terms in quotations are defined in the attached Settlement Agreement and Release) are dismissed

with prejudice.

        2.        Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

        3.        The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate with respect to this Order.

        IT IS SO ORDERED this ___ day of __________, 2010.

                                                ________________________________________
                                                Hon. Lora J. Livingston




24062633_1.DOC                                    -2-
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                  EXHIBIT 5
                     to
      SETTLEMENT AGREEMENT AND RELEASE
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-
PBS                                                  )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


     STIPULATION OF DISMISSAL WITH PREJUDICE OF TEVA PARTIES AND
            MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE

         The above-captioned matters are actions brought under the qui tam provisions of the

federal False Claims Act, 31 U.S.C. § 3729, et seq., by Relator Ven-A-Care of the Florida Keys,

Inc. (the “Relator”) against Teva Pharmaceuticals USA, Inc., Ivax Corporation, Ivax

Pharmaceuticals, Inc., Duramed Research, Inc., Zenith-Goldline Pharmaceuticals, Inc., Goldline

Laboratories, Inc., Barr Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”)

(Teva together with Relator collectively the “Parties”).

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, 31 U.S.C. § 3730(b)(1), and in accordance with the terms of the

Settlement Agreement and Release attached as Exhibit A hereto, the Parties hereby stipulate to

the entry of an order dismissing all “Released Claims” for the “Covered Conduct” against the

“Teva Released Parties” (as the terms in quotations are defined in the Settlement Agreement and

Release) (attached hereto as Exhibit A). The United States consents to the requested dismissal, as

set forth in the attached Exhibit B.
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       The Parties further stipulate that any claim the Relator or its counsel has to a Relator’s

share or for expenses, attorneys’ fees, and costs shall not be the responsibility of Teva.

       WHEREFORE, to permit them to effectuate the terms of their comprehensive settlement,

pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions of the

federal False Claims Act, 31 U.S.C. § 3730(b)(1), the Parties respectfully request that the Court

enter an order in the form attached hereto as Exhibit C.
Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 84 of 106




                                   Respectfully submitted,



                                   _/s/ James J. Breen_________________
                                   JAMES J. BREEN
                                   The Breen Law Firm, P.A.
                                   5755 North Point Parkway, Suite 260
                                   Alpharetta, GA 30022
                                   (770) 740-0008

                                   Counsel for Relator




                                   _/s/ Jennifer G. Levy ______________
                                   JENNIFER G. LEVY
                                   KIRKLAND & ELLIS LLP
                                   655 Fifteenth St., NW
                                   Washington, DC 20005
                                   (202) 879-5211

                                   Counsel for Teva


 Dated: __________________, 2010
Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 85 of 106




                         EXHIBIT A
                            TO
STIPULATION OF DISMISSAL WITH PREJUDICE OF TEVA PARTIES AND
       MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE
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                         EXHIBIT B
                            TO
STIPULATION OF DISMISSAL WITH PREJUDICE OF TEVA PARTIES AND
       MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE
         Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 87 of 106



                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

In re:                                               )               MDL No. 1456
                                                     )               Civil Action No. 01-12257-PBS
                                                     )
PHARMACEUTICAL INDUSTRY                              )               Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )               Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


  CONSENT OF THE UNITED STATES OF AMERICA TO THE RELATOR’S DISMISSAL
        WITH PREJUDICE OF CLAIMS PURSUANT TO 31 U.S.C. § 3730 (b) (1)


         Pursuant to 31 U.S.C. § 3730(b) (1), the United States hereby consents to:



         (1)        The dismissal with prejudice of the above-captioned action with respect to Teva

                    Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

                    Research, Inc., Zenith Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc.,

                    Barr Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”),

                    pursuant to the Settlement Agreement between Relator, Ven-A-Care of the Florida

                    Keys, Inc. (the “Relator”), and Teva with respect to all claims by the Relator on

                    behalf of the United States against Teva in the above-styled action; and



         (2)        The entry of the proposed Order of Dismissal with Prejudice in the form attached to

                    the Settlement Agreement and Release as Exhibit 5 and attached hereto as Exhibit

                    A.
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       The United States has concluded that the amount of $100,000,000 that it will receive in

connection with the settlement is fair, adequate, and reasonable as to the United States under all the

circumstances.

                                     Respectfully submitted,



                                     TONY WEST
                                     Assistant Attorney General


                                     By: ____________________
                                     Joyce R. Branda
                                     Daniel R. Anderson
                                     Laurie A. Oberembt
                                     U.S. Department of Justice
                                     Civil Division
                                     Commercial Litigation Branch
                                     P.O. Box 261
                                     Ben Franklin Station
                                     Washington, D.C. 20044
                                     (202) 514-3345



Dated: ______________, 2010
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                             EXHIBIT A
                                TO
CONSENT OF THE UNITED STATES OF AMERICA TO THE RELATOR’S DISMISSAL
      WITH PREJUDICE OF CLAIMS PURSUANT TO 31 U.S.C. § 3730 (b) (1)
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 90 of 106




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-
PBS                                                  )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


         ORDER OF DISMISSAL WITH PREJUDICE OF CERTAIN DEFENDANTS

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, Relator Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

and Teva Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

Research, Inc., Zenith-Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc., Barr

Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”) (Teva together with

Relator collectively the “Parties”) filed with this Court, a Stipulation of Dismissal and Motion

for Order of Dismissal with Prejudice of Teva. Upon due consideration of the Stipulation and

the Parties’ Settlement Agreement and Release, the United States’ Consent, the Consent of the

State of California, the lack of objection to the proposed Settlement, and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

         WHEREFORE, IT IS ORDERED, that

         1.     Consistent with the terms of the Settlement Agreement and Release attached

hereto as Exhibit A, the above-captioned Civil Action, is dismissed with prejudice as to Teva;
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 91 of 106




       2.      This Order resolves all claims against Teva for the federal share of Medicaid

overpayments brought in the above-captioned Civil Action; however, this Order shall in no way

prejudice or limit any claims for a state’s share except as provided for in the Settlement

Agreement as to the State of California.

       3.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

       4.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.

       IT IS SO ORDERED this _____ day of _____________, 2010.



                                             ________________________________________
                                             THE HONORABLE PATTI B. SARIS
                                             UNITED STATES DISTRICT COURT JUDGE
Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 92 of 106




                         EXHIBIT C
                            TO
STIPULATION OF DISMISSAL WITH PREJUDICE OF TEVA PARTIES AND
       MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 93 of 106




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-
PBS                                                  )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


         ORDER OF DISMISSAL WITH PREJUDICE OF CERTAIN DEFENDANTS

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, Relator Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

and Teva Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

Research, Inc., Zenith-Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc., Barr

Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”) (Teva together with

Relator collectively the “Parties”) filed with this Court, a Stipulation of Dismissal and Motion

for Order of Dismissal with Prejudice of Teva. Upon due consideration of the Stipulation and

the Parties’ Settlement Agreement and Release, the United States’ Consent, the Consent of the

State of California, the lack of objection to the proposed Settlement, and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

         WHEREFORE, IT IS ORDERED, that

         1.     Consistent with the terms of the Settlement Agreement and Release attached

hereto as Exhibit A, the above-captioned Civil Action, is dismissed with prejudice as to Teva;
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 94 of 106




       2.      This Order resolves all claims against Teva for the federal share of Medicaid

overpayments brought in the above-captioned Civil Action; however, this Order shall in no way

prejudice or limit any claims for a state’s share except as provided for in the Settlement

Agreement as to the State of California.

       3.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

       4.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.

       IT IS SO ORDERED this _____ day of _____________, 2010.



                                             ________________________________________
                                             THE HONORABLE PATTI B. SARIS
                                             UNITED STATES DISTRICT COURT JUDGE
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                  EXHIBIT 6
                     to
      SETTLEMENT AGREEMENT AND RELEASE
         Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 96 of 106



                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS

In re:                                               )               MDL No. 1456
                                                     )               Civil Action No. 01-12257-PBS
                                                     )
PHARMACEUTICAL INDUSTRY                              )               Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )               Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


  CONSENT OF THE UNITED STATES OF AMERICA TO THE RELATOR’S DISMISSAL
        WITH PREJUDICE OF CLAIMS PURSUANT TO 31 U.S.C. § 3730 (b) (1)


         Pursuant to 31 U.S.C. § 3730(b) (1), the United States hereby consents to:



         (1)        The dismissal with prejudice of the above-captioned action with respect to Teva

                    Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

                    Research, Inc., Zenith Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc.,

                    Barr Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”),

                    pursuant to the Settlement Agreement between Relator, Ven-A-Care of the Florida

                    Keys, Inc. (the “Relator”), and Teva with respect to all claims by the Relator on

                    behalf of the United States against Teva in the above-styled action; and



         (2)        The entry of the proposed Order of Dismissal with Prejudice in the form attached to

                    the Settlement Agreement and Release as Exhibit 5 and attached hereto as Exhibit

                    A.
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       The United States has concluded that the amount of $100,000,000 that it will receive in

connection with the settlement is fair, adequate, and reasonable as to the United States under all the

circumstances.

                                     Respectfully submitted,



                                     TONY WEST
                                     Assistant Attorney General


                                     By: ____________________
                                     Joyce R. Branda
                                     Daniel R. Anderson
                                     Laurie A. Oberembt
                                     U.S. Department of Justice
                                     Civil Division
                                     Commercial Litigation Branch
                                     P.O. Box 261
                                     Ben Franklin Station
                                     Washington, D.C. 20044
                                     (202) 514-3345



Dated: ______________, 2010
    Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 98 of 106




                             EXHIBIT A
                                TO
CONSENT OF THE UNITED STATES OF AMERICA TO THE RELATOR’S DISMISSAL
      WITH PREJUDICE OF CLAIMS PURSUANT TO 31 U.S.C. § 3730 (b) (1)
     Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 99 of 106




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-
PBS                                                  )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


         ORDER OF DISMISSAL WITH PREJUDICE OF CERTAIN DEFENDANTS

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, Relator Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

and Teva Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

Research, Inc., Zenith-Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc., Barr

Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”) (Teva together with

Relator collectively the “Parties”) filed with this Court, a Stipulation of Dismissal and Motion

for Order of Dismissal with Prejudice of Teva. Upon due consideration of the Stipulation and

the Parties’ Settlement Agreement and Release, the United States’ Consent, the Consent of the

State of California, the lack of objection to the proposed Settlement, and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

         WHEREFORE, IT IS ORDERED, that

         1.     Consistent with the terms of the Settlement Agreement and Release attached

hereto as Exhibit A, the above-captioned Civil Action, is dismissed with prejudice as to Teva;
    Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 100 of 106




       2.      This Order resolves all claims against Teva for the federal share of Medicaid

overpayments brought in the above-captioned Civil Action; however, this Order shall in no way

prejudice or limit any claims for a state’s share except as provided for in the Settlement

Agreement as to the State of California.

       3.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

       4.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.

       IT IS SO ORDERED this _____ day of _____________, 2010.



                                             ________________________________________
                                             THE HONORABLE PATTI B. SARIS
                                             UNITED STATES DISTRICT COURT JUDGE
Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 101 of 106




                   EXHIBIT 7
                      to
       SETTLEMENT AGREEMENT AND RELEASE
         Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 102 of 106



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-PBS
                                                     )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


  CONSENT OF THE STATE OF CALIFORNIA TO THE RELATOR’S DISMISSAL WITH
    PREJUDICE OF CLAIMS PURSUANT THE CALIFORNIA FALSE CLAIMS ACT


         Pursuant to California Government Code, § 12651(a), et. seq., the State of California hereby

consents to:



         (1)       The dismissal with prejudice of the above-captioned action with respect to Teva

                   Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

                   Research, Inc., Zenith -Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc.,

                   Barr Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively “Teva”),

                   pursuant to the Settlement Agreement between Relator, Ven-A-Care of the Florida

                   Keys, Inc. (the “Relator”), and Teva with respect to all claims by the Relator on

                   behalf of the United States against Teva in the above-styled action; and



         (2)       The entry of the proposed Order of Dismissal with Prejudice in the form attached

                   hereto as Exhibit A.
        Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 103 of 106




        (3)        This Consent shall be without prejudice to the State of California as to drugs

                   marketed under Labeler Codes 59310, 68546 and 50111.



        The State of California has concluded that the settlement is fair, adequate and reasonable as to

the State of California under all the circumstances.

                                      Respectfully submitted,



State of California
Office of the Attorney General

By:
Date:

Nicholas Paul
Supervising Deputy Attorney General
Bureau of Medi-Cal Fraud & Elder Abuse
Office of the Attorney General
1455 Frazee Road, Suite 315
San Diego, CA 92108


Dated: _________________, 2010
   Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 104 of 106




                             EXHIBIT A
                                TO
CONSENT OF THE STATE OF CALIFORNIA TO THE RELATOR’S DISMISSAL WITH
  PREJUDICE OF CLAIMS PURSUANT THE CALIFORNIA FALSE CLAIMS ACT
    Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 105 of 106




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

In re:                                               )              MDL No. 1456
                                                     )              Civil Action No. 01-12257-
PBS                                                  )
PHARMACEUTICAL INDUSTRY                              )              Subcategory No. 06-11337
AVERAGE WHOLESALE PRICE                              )
LITIGATION                                           )
_________________________________                    )
                                                     )
THIS DOCUMENT RELATES TO:                            )
United States of America ex rel. Ven-A-Care of       )              Judge Patti B. Saris
the Florida Keys, Inc., by and through its principal )
officers and directors, Zachary T. Bentley and       )
T. Mark Jones v. Actavis Mid Atlantic LLC, et al. )


         ORDER OF DISMISSAL WITH PREJUDICE OF CERTAIN DEFENDANTS

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the qui tam provisions

of the federal False Claims Act, Relator Ven-A-Care of the Florida Keys, Inc. (the “Relator”)

and Teva Pharmaceuticals USA, Inc., Ivax Corporation, Ivax Pharmaceuticals, Inc., Duramed

Research, Inc., Zenith-Goldline Pharmaceuticals, Inc., Goldline Laboratories, Inc., Barr

Pharmaceuticals, Inc., and Barr Laboratories, Inc. (collectively, “Teva”) (Teva together with

Relator collectively the “Parties”) filed with this Court, a Stipulation of Dismissal and Motion

for Order of Dismissal with Prejudice of Teva. Upon due consideration of the Stipulation and

the Parties’ Settlement Agreement and Release, the United States’ Consent, the Consent of the

State of California, the lack of objection to the proposed Settlement, and the Court’s

determination that the Settlement Amount appears to the Court to be fair, adequate, and

reasonable under all the circumstances, the Court hereby approves the Settlement.

         WHEREFORE, IT IS ORDERED, that

         1.     Consistent with the terms of the Settlement Agreement and Release attached

hereto as Exhibit A, the above-captioned Civil Action, is dismissed with prejudice as to Teva;
    Case 1:01-cv-12257-PBS Document 7216-1 Filed 08/09/10 Page 106 of 106




       2.      This Order resolves all claims against Teva for the federal share of Medicaid

overpayments brought in the above-captioned Civil Action; however, this Order shall in no way

prejudice or limit any claims for a state’s share except as provided for in the Settlement

Agreement as to the State of California.

       3.      Each party shall be responsible for its own expenses, attorneys’ fees, and costs.

       4.      The Court shall retain jurisdiction to enforce the terms, conditions, and releases of

the Parties’ Settlement Agreement and Release to the extent reasonably necessary and

appropriate.

       IT IS SO ORDERED this _____ day of _____________, 2010.



                                             ________________________________________
                                             THE HONORABLE PATTI B. SARIS
                                             UNITED STATES DISTRICT COURT JUDGE
